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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                SHERMAN DIVISION

   EDWARD BUTOWSKY,                                §
                                                   §
                Plaintiff,                         §
                                                   §
   v.                                              §   CASE NO. 4:19-CV-00180-ALM-KPJ
                                                   §
   MICHAEL GOTTLIEB, et al.,                       §
                                                   §
                Defendants.

                                           ORDER

        Pending before the Court are the following motions:

        (1) Defendants Turner Broadcasting System, Inc., Anderson Cooper, Gary Tuchman,
            Kayvon Oliver Darcy, and Tom Kludt’s (collectively, the “CNN Defendants”) Motion
            to Dismiss Plaintiff’s Third Amended Complaint for Failure to State a Claim
            (Dkt. 219);

        (2) Defendants Anderson Cooper, Gary Tuchman, Kayvon Oliver Darcy, and Tom Kludt’s
            (collectively, the “CNN Individual Defendants”) Motion to Dismiss Plaintiff’s Third
            Amended Complaint for Lack of Personal Jurisdiction (Dkt. 220);

        (3) Defendants Vox Media, Inc. and Jane Coaston’s (together, the “Vox Defendants”)
            Motion to Dismiss Third Amended Complaint for Lack of Personal Jurisdiction
            (Dkt. 221);

        (4) Defendant Alan Feuer’s (“Feuer”) Motion to Dismiss Third Amended Complaint for
            Lack of Personal Jurisdiction (Dkt. 222);

        (5) The Vox Defendants’ Motion to Dismiss Third Amended Complaint Under Rule
            12(b)(6) (Dkt. 223); and

        (6) Defendants the New York Times Company and Feuer’s Motion to Dismiss Third
            Amended Complaint Under Rule(b)(6) (Dkt. 224) (together, the “Motions to
            Dismiss”).




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             Counsel and parties shall comply with the Local Rules CV-7, 10, 11, and 56, as well as the

      Federal Rules of Civil Procedure and the undersigned’s Exemption Order to Local Rule CV-

      5(A)(9) regarding Courtesy Paper Copies of Electronically Filed Documents.1

             Local Rule CV-7 requires you to attach affidavits and other supporting documents to the

      motion or response. A courtesy copy of the motions, responses, and replies, with attachments, must

      be provided to chambers, and should either be spiral bound or three-hole punched and placed in a

      three-ring binder. All binding should be on the left side of the page. You should print the docketed

      version of your motion from CM-ECF so that your motion includes the docket identifier at the top

      of each page. Pursuant to Local Rule CV-7(b), you should highlight in the courtesy copy the

      portions of affidavits or other supporting documents which are cited in your motion or response.

             IT IS THEREFORE ORDERED that counsel shall deliver courtesy copies to chambers

      as described above by May 29, 2020, for the Motions to Dismiss (Dkts. 219–24) and all responses

.     and attachments thereto.

             IT IS FURTHER ORDERED that the oral argument set on the Motions to Dismiss is

      RESET to June 10, 2020, at 9:30 a.m., before the undersigned at the Plano Courthouse,

      Courtroom 108, 7940 Preston Road, Plano, Texas, 75024.

              So ORDERED and SIGNED this 11th day of May, 2020.




                                                         ____________________________________
                                                         KIMBERLY C. PRIEST JOHNSON
                                                         UNITED STATES MAGISTRATE JUDGE




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             Available at http://www.txed.uscourts.gov/?q=judge/magistrate-judge-kimberly-priest-johnson.

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